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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


   CORCEPT THERAPEUTICS, INC.,                       Civil Action No.

                   Plaintiff,                        18-3632 (RMB) (LDW)

   v.
                                                     ORDER TO SEAL AND TO UNSEAL
   TEVA PHARMACEUTICALS USA,
   INC.,

                   Defendant.


        THIS MATTER having come before the Court by way of Teva’s Motion to Seal three

 trial exhibits (ECF No. 311); and having considered the Declaration of Liza M. Walsh in support

 of the Motion to Seal as well as the factors set forth in Local Civil Rule 5.3(c)(3), the Court makes

 the following Findings of Fact and Conclusions of Law:

    1. Teva seeks to seal trial exhibits JTX 13, JTX 14, and PTX-057 in their entirety. The Hon.

        Renée Marie Bumb, U.S.D.J. admitted each of these exhibits into evidence under seal

        during the course of the bench trial. See Sept. 26, 2023 Trial Tr. at 62:8-11, 63:1-6, 74:8-

        16.

    2. There is “a common law public right of access to judicial proceedings and records.” In re

        Cendant Corp., 260 F.3d 183, 192 (3d Cir. 2001). There is also a First Amendment right

        of public access to civil trials. Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1061 (3d

        Cir. 1984).

    3. Neither the common law right of access nor the First Amendment right of access is

        “absolute,” and these presumptions in favor of access may be rebutted where the party

        seeking sealing demonstrates “‘that the interest in secrecy outweighs the presumption.’”
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      In re Avandia Mktg., Sales Practices & Prods. Liab. Litig., 924 F.3d 662, 672 (3d Cir.

      2019) (quoting Bank of Am. Nat’l Trust & Sav. Ass’n v. Hotel Rittenhouse Assocs., 800

      F.2d 339, 344 (3d Cir. 1986)). To rebut the common law presumption of access, “[t]he

      movant must show ‘that the material is the kind of information that courts will protect and

      that disclosure will work a clearly defined and serious injury to the party seeking closure.’”

      Id. (quoting Miller v. Ind. Hosp., 16 F.3d 549, 551 (3d Cir. 1994)). Similarly, “[t]he party

      seeking closure or sealing in the face of the First Amendment right of access ‘bears the

      burden of showing that the material is the kind of information that courts will protect and

      that there is good cause for the order to issue.’ Good cause means ‘that disclosure will

      work a clearly defined and serious injury to the party seeking closure’; ‘[t]he injury must

      be shown with specificity.’” Id. at 673 (quoting Publicker Indus., 733 F.2d at 1071).

   4. Local Civil Rule 5.3(c)(3) requires a party seeking to seal materials filed with the Court to

      file a motion that describes “(a) the nature of the materials or proceedings at issue, (b) the

      legitimate private or public interest which warrants the relief sought, (c) the clearly defined

      and serious injury that would result if the relief sought is not granted, and (d) why a less

      restrictive alternative to the relief sought is not available.”

   5. Exhibits JTX 13, JTX 14, and PTX-057 contain nonpublic, proprietary, competitively

      sensitive business information, including reference to and discussion of Teva’s

      Abbreviated New Drug Application (“ANDA”) and information derived from it. Teva

      affirms that it treats this proprietary information as confidential and has designated this

      information as confidential pursuant to the parties’ Discovery Confidentiality Order.

   6. Teva has a legitimate interest in protecting its sensitive, nonpublic, and proprietary

      information relating to its ANDA, disclosure of which could impair its standing in the



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        highly competitive pharmaceuticals market. See Impax Labs., Inc. v. Zydus Pharm. (USA)

        Inc., Civ. A. No. 17-13476, 2018 WL 10151204, at *1 (D.N.J. Nov. 27, 2018) (finding that

        “Defendants have a legitimate interest in maintaining the confidentiality of this

        commercially sensitive business information, including research, development, and

        technical information related to the components and formulation of [the] ANDA product”);

        Valeant Pharm. Luxembourg S.á.r.l. v. Actavis Labs. UT, Inc., Civ. A. No. 16-04344, 2018

        WL 1832914, at *2 (D.N.J. Apr. 16, 2018) (finding public disclosure of information

        relating to an ANDA could allow competitors to “utilize the information to gain an unfair

        competitive advantage to [the movant’s] detriment”). See also Publicker Indus., 733 F.2d

        at 1073 (noting that “an interest in safeguarding a trade secret may overcome [the First

        Amendment] presumption of openness”).

    7. Accordingly, Teva has a legitimate interest in protecting this information from disclosure

        and would suffer a clearly defined injury if the information were to be made public.

    8. There is no less restrictive alternative available than to seal the information. Teva has

        sought to seal only that information that is entitled to protection.

    9. Teva has satisfied the requirements for sealing under Local Civil Rule 5.3(c).

        WHEREAS the Court having found that found that legitimate private interests outweigh

 the presumption of public access, warranting the relief sought; and no opposition to the motion

 having been filed; and for good cause shown;

        IT IS on this day, February 7, 2024, ORDERED that:

    1. Teva’s Motion to Seal is GRANTED and trial exhibits JTX 13, JTX 14, and PTX-057 are

        hereby ordered SEALED.




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   2. By agreement of the parties, the Clerk of Court is directed to unseal the following

      documents:

      a.   Proposed Joint Final Pretrial Order (ECF No. 261)
      b.   Teva’s Pretrial Brief (ECF No. 269)
      c.   Plaintiff’s Pretrial Brief (ECF No. 270)
      d.   Joint Final Pretrial Order (ECF No. 273)
      e.   Letter to the Honorable Renée Marie Bumb dated September 19, 2023 (ECF No. 277)
      f.   Letter to the Honorable Renée Marie Bumb dated September 22, 2023 (ECF No. 278)

   3. The Clerk of Court is directed to terminate the motion at ECF No. 311.

                                             s/ Leda Dunn Wettre
                                            Hon. Leda Dunn Wettre
                                            United States Magistrate Judge




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